SEE
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                                  E
                                      ..                                               9990 Richmond Avenue
                                                                                               Suite 400 South
                                                                                           Houston, TX 77042
         FINANCE                                                                     Telephone (877) 768-3759
                                                                                           Fax (866) 926-5498
                                                                                       www.selcnefinancc.com
11/23/2018
                                                                                      Houts of Operation (CT)
                                                                            Monday - Thursday: 8 a.m. - 9 p.m.
DAVID GRIMALDI
                                                                                        Friday: 8 a.m. - 5 p.m.
80MIDDLERD
FALMOUTH_, ME 04105-1820

Re:          Loan#:
             Mortgagor(s):   DAVID GRIMALDI
             Property:       80 MIDDLE RD
                             FALMOUTH, ME 04105


                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE

Dear Mortgagor(s):

Selene Finance LP ("Selene"), on behalf of the owner and holder of your mortgage loan, and in accordance with
the referenced Deed of Trust/Mortgage and applicable state laws, provides you with fonnal notice of the
following:

The mortgage loan associated with the referenced Deed of Trust/Mortgage is in. default for failure to pay
amounts due.

You have a right to cure the default. To cure this default, you must pay all amounts due under the terms of
your Note and Deed of Trust/Mortgage. As of 11/23/2018, your loan is due for 11/01/2017 and tl1e total
amount necessary to cure your default is $17,199.12, which consists of the following:


      Payment Due Date:                                                                     11/01/2017

      Total Monthly Payments Due:                                                           $15,784.73
      Escrow Advance Balance Due:                                                              $803.29
      Late Charges:                                                                            $404.10
      Uncollected NSF Fees:                                                                      $0.00
      Other Fees:                                                                                $0.00
      Corporate Advance Balance:                                                               $207.00
      Unapplied Balance:                                                                        ruJ2Q}
      TOTAL YOU MUST PAY TO CURE DEFAULT:                                                   $17,199.12


As of 11/23/2018, the current outstanding principal balance is $206,592.91 and the total debt you owe is
$221,502.47. The total amount you must pay to cure the default stated above must be received within
thirty-five (35) days of receipt of this notice. The total amount due does not include any amounts that become
due after the date of this notice.




                                                                                                      EXHIBIT
Page I of5
DMOII                                                                                          I
Please include your loan number and property address with your payment and send to:

                                  Selene Finance LP
                                  P.O. Box 71243
                                  Philadelphia, PA 19176-6243

You may also make a payment by wire transfer using the following infonnation:

                                  Bank:             Signature Batik
                                  ABA:              026013576
                                  Account No.:      1503088408

Failure to cure the delinquency within thirty-five (3 S) days of receipt of this notice may result in acceleration of
the sums secured by the Deed of Trust/Mortgage and in the sale of the property through foreclosure. If you
remit the total to cure the default within 35 days from receipt of this notice, the default identified in this letter
will be cured.

You are hereby informed that you have the "right to cure" or reinstate the loan after acceleration and the right
to bring a court action or assert in any court action the non-existence of a default or any other defense you may
have to acceleration. You may have options available to you other than foreclosure. You are encouraged to
explore available loan resolution options prior to the end of the "right to cure" period by contacting Selene, the
party authorized to modify your mortgage via telephone at (877) 768-3759 or by mail at 9990 Richmond
Avenue Suite 400 South Houston, TX 77042.

Although you are not required to pay the total debt (or balance) of the loan prior to its maturity or acceleration,
federal law requires Selene to provide you with t11e total debt (or balance) due to Selene as of the date of this
letter, which is $221,502.47. The total estimated debt amount provided herein is for informational purposes
only and this letter is not intended to act as a "payoff statement" or ''demand" for you to pay the loan in full. If
you want to obtain a written payoff statement, please contact Selene at (877) 768-3759.

If you received a discharge of the loan through the Bankruptcy Court and if the loan has not been reaffirmed,
the acceleration and the sale will not result in you being held personally liable for the debt and this letter is not
an attempt to collect a personal debt. However, to avoid foreclosure, payment of the delinquent balance is
necessary.

For your benefit and assistance, there are govermnent approved homeownership counseling agencies designed
to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
(800) 569-4287 or visit http://www.hud.gov/offices/hsg/sfh/hcc/hcs.ofm. You may also contact the
Homeownership Preservation Foundation's Hope hotline at (888) 995-HOPE (4673).

Where mediation is available under state law (14 MRSA §6321-A), you may request mediation to explore
options for avoiding foreclosure judgment.

Sincerely,

Loan Resolution Department

Selene Finance LP is a debt collector attempting to collect a debt and any information obtained will be used for
that purpose.

Please note that if you are in bankruptcy or received a bankruptcy discharge of this debt, this
communication is not an attempt to collect the debt against you personally.

For Servicemembers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state
Page 2 of5
DM011                                                                                                    2339133773
laws provide important protections for you, including, under most circumstances, a prohibition on foreclosure
during and twelve months after the servicemember's active duty service. Selene will not foreclose on the
property of a servicemeniber or his or her dependent during that time., except pursuant to a court order. You
also may be entitled to other protections under these laws, including interest rate and fee relief. Please contact
us to learn more about your rights.




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            Agencies located in MAINE
                   Agency Nam•                                                                                                            Phona, Toll-Free, Fa~ Number, Email, Wet,,,lto
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                                                                                                                                          Phone: 207~26-4670
                                                                                                                                          T,;1IHroo: 800-4 52-48611
                                                                                                                                                                                                                                                                         353 Water Stteel
                   MAINE STATE HOUSING AUTHORITY                                                                                          Fax: 207-e26-4678
                                                                                                                                                                                                                                                                         AUGUSTA, Maino 04330-4665
                                                                                                                                          E-maU: dkjohosan@mainehouoing.org
                                                                                                                                          Webalte: www.melnehouslng.org

                                                                                                                                          PhOOO: 207•6~.6"1570
                   MAINE STATE HOUSING.AUTHORITY
                                                                                                                                                                                                                                                                         353 Water St
                                                                                                                                          E-mail: dkjolvlson@malnehouslng.org.
                                                                                                                                                                                                                                                                         Augusta, Maine 04330-6113
                                                                                                                                          Website: www.malnehouslng.org

                                                                                                                                          Phone: 207-974-2403
                                                                                                                                          Toll-free: 888-424-0151
                                                                                                                                                                                                                                                                         262 Harlow Street
                   PENQUIS COMMUNITYACTION PROGRAM                                                                                        Fax: 207-973-3699
                                                                                                                                                                                                                                                                         BANGOR, Maine 04-401-4952
                                                                                                                                          E-mail: hmesBOW@penquto org
                                                                                                                                          Website: www.penquis org

                                                                                                                                          Phone: 207-442-7963.
                                                                                                                                          Toll-fi'ee: 800-221-2221
                   MIDCOAST MAINE COMMUNITY ACTION
                                                                                                                                                                                                                                                                         34 Wing Fann Pkwy
                                                                                                                                          Fax: 207-443-7447
                                                                                                                                                                                                                                                                         Bath, Maino 04530-1515
                                                                                                                                          E-mail: candlce.carpenter@mmcacorp.org
                                                                                                                                          Website: www.midGoeslmalnacommunilyaotlon.org

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                   WALDO. COMMUNITY ACTION PARTNERS                                                                                       E-mail: NIA
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                   COASTAL ENTERPRISES, INCORPORATED                                                                                                                                                                                                                     Suite 100
                                                                                                                                          E-meU: Jason.11~mee@celmalne.org
                                                                                                                                                                                                                                                                         BRUNSWICK. Maine 04011-1510
                                                                                                                                          Website: www.colmelne.org


                                                                                                                                          Phone: 207-666-8546
                   FOUR DIRECTIONS DEVELOPMENT CORPORATION
                                                                                                                                          Fa<e 207-866-6553                                                                                                              20 Godfrey Drive
                                                                                                                                          E-maU: onk:kerson@fourdlrecilonsmelne org                                                                                      ORONO, Maine 04473-3610
                                                                                                                                          Webs~e: www.fourdl,,.ctionmielno.org


                                                                                                                                          Phone: 207-553•7780-3347
                                                                                                                                          Toll-free: 800-339-8516
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                   AVESTA HOUSING DEVELOPMENT CORPORATION                                                                                 Fax: 207-553-7778
                                                                                                                                                                                                                                                                         PORTLAND, Maine 04101-4920
                                                                                                                                          E-moU: ndlgeronlmo@aveetahouslng.org
                                                                                                                                          Website: www.evestahou•ing.org

                                                                                                                                          PhOne: 866-232-9080
                                                                                                                                          Toll-free: 866-232-9080                                                                                                        477 Congreee SI
                   MONEY MANAGEMENT INTERNATIONAL - SOUTH
                   PORTLAND
                                                                                                                                          Fax: 866-921-6129                                                                                                              6th Floor


                                                _,..                                                                                      E-maU: counsellnglnlo@moneymanogement.org                                                                                      PORTLAND, Maine 04101-3427
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                                                                                                                                          Phone: 207-774--8211.
                                                                                                                                                                                                                                                                         88 Federal St
                                                                                                                                          Fax: 207-828·2300
                   PINE TREE LEGAL ASSISTANCE, INCORPORATED                                                                                                                                                                                                              PO Box 547
                                                                                                                                          E-mail: nheald@ptla.org
                                                                                                                                                                                                                                                                         PORTLAND, Maine 04101-4205
                                                                                                                                          Website: www.ptla.org


                                                                                                                                          Phone: 207-797-7890
                   PROPERITY ME FKA COMMUNITY FINANCIAL                                                                                                                                                                                                                  309 Cumberland Ave Sta 202
                                                                                                                                          E-mail: crweganje@prooperilyme.org
                   LITERACY                                                                                                                                                                                                                                              Portland, Maine 04101-4982
                                                                                                                                          Wobslto: cllme.org/

                                                                                                                                          Phono: 207-764-3721
                   AROOSTOOK COUNTY. ACTION PROGRAM, INC.
                                                                                                                                                                                                                                                                         771 Main St
                                                                                                                                          E-mell: NIA
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                                                                                                                                          Web•ite: www.ecep-me.org
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                                                                                                                                          Phone: 207-459-2903
                                                                                                                                          Fa>:: 207-490-5026                                                                                                             6 Spruce Stroot
                   YORK COUNTY COMMUNITY ACTION AGENCY
                                                                                                                                          E-mail: Meaghen>nborgar@yccac.org                                                                                              SANFORD, Moine 04073-2917
                                                                                                                                          Website: www.yccac.org
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                                                                                                                                          Phone: 207-333-6419
                   COMMUNITY CONCEPTS, INC. ALSO OBA                                                                                      Fa,c 207•795-4069.                                                                                                              17 Mar1ull Square
                   HOMEQUESTMAINE                                                                                                         E-mau: hOmequesl@oommunily-coneepls org                                                                                         SOUTH PARIS, Maine 04281-1533
                                                                                                                                          Website: www.ccmrnunlly,co=pts.org




            https:/lapps,hud.gov/offices/hsg/slh/hcclhcs,cfm?webListAction=search&searchstate"ME                                                                                                                                                                                                                                     VCP27




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             Agencies located in MAINE
                                                                  PhOne: 800-542-8227
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                  KENNEBEC. VALLEY COMMUNITY ACTION PROGRAM       E-moll; NIA
                                                                                                    Waterville, Maine 04901-6339
                                                                  Webl!lle: www.kvcap.o,g




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DMOll                                                                                                                    2339133773
SELENE@                                                                                9990 Richmond Avenue
                                                                                              Suite 400 South
                                                                                           Houston, TX 77042
        FINANC.E                                                                     Telephone (877) 768-3759
                                                                                           Fax (866) 926-5498
                                                                                       www.sekmcfinancc.com
11/23/2018
                                                                                      Hours of Operation (CT)
                                                                            Monday - Thursday: 8 a.m. - 9 p.m.
SUSAN GRIMALDI
                                                                                        Friday: 8 a.m. - 5 p.m.
80MIDDLERD
FALMOUTH, ME 04105-1820

Re:          Loan#:
             Mortgagor(s):   SUSAN GRIMALDI
             Property:       80MIDDLERD
                             FALMOUTH, ME 04105

                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE

Dear Mortgagor(s):

Selene Finance LP ("Selene"), on behalf of the owner and holder of your mortgage loan, and in accordance with
the referenced Deed of Trust/Mortgage and applicable state laws, provides you with formal notice of the
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      UncoJlected NSF Fees:                                                                      $0.00
      Other Fees:                                                                                 $0.00
      Corporate Advance Balance:                                                               $207.00
      Unapplied Balance:                                                                        (l!1Q9j
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Page I of5                                                                                          NMLS#6312
DMOll                                                                                               2339133776
Please include your loan number and property address with your payment and send to:

                                  Selene Finance LP
                                  P.O. Box 71243
                                  Philadelphia, PA 19176-6243

You may also make a payment by wire transfer using the following infonnation:

                                  Bank:             Signature Bank
                                  ABA:              026013576
                                  Account No.:      1503088408

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A venue Suite 400 South Houston, TX 77042.

Although you are not required to pay the total debt (or balance) of the loan prior to its maturity or acceleration,
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For your benefit and assistance, there are govermnent approved homeownership counseling agencies designed
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Loan Resolution Department

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For Servicemernbers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state
Page 2 of5
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property of a servicemeniber or his or her dependent during that time., except pursuant to a com1 order. You
also may be entitled to other protections under these laws, including interest rate and fee relief. Please contact
us to learn more about your rights.




Page3 of5
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                           Agency Nam,                                                                                                 Phont, Toll.free, FaK Numbar, Email, Web&lla                                                                      Addr11s
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                                                                                                                                       Phone: 207~26-4670
                                                                                                                                       Toll-free: 800-452-4668
                                                                                                                                                                                                                                                         353 Water SIJ'eel
                           MAINE STATE HOUSING AUTHORITY                                                                               Fax: 207-e26-4676
                                                                                                                                                                                                                                                         AUGUSTA, Maine 04330-4665
                                                                                                                                       E-mail: dkjomson@mainohou,ing.org
                                                                                                                                       Website: www.meinehous1ng.org

                                                                                                                                       Phone: 207-626-4670
                                                                                                                                                                                                                                                         353 Water Sf
                           MAINE STATE HOUSING AUTHORITY                                                                               E-mail: dkjoh11oon@malnehouslng.org
                                                                                                                                                                                                                                                         Augusta. Maine 04330-6113
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                                                                                                                                      Phone: 207-974-2403
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                                                                                                                                                                                                                                                         262 Harlow Street
                           PENOUIS COMMUNITY.ACTION PROGRAM                                                                           Fax: 207-973-3699
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                                                                                                                                      E-mail: hmasflOW\l!)penqldll oro
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                                                                                                                                       Phone: 207-442-7963.
                                                                                                                                       Toll-free: 800-221-2221
                                                                                                                                                                                                                                                         34 Wing Farm Pkwy
                           MIDCOAST MAINE COMMUNITY ACTION                                                                             Fax: 207-443-7447
                                                                                                                                                                                                                                                         Balh, Maino 04530-1515
                                                                                                                                       E-mail: candlce.carpenter@mmcecorp.org
                                                                                                                                       Wabsil<r: www.midcoastmalMCOmmunityuctlon.org

                                                                                                                                       Phon&: 207-336-6809.
                                                                                                                                                                                                                                                         9 Field St Sia 201
                           WALDO. COMMUNITY ACTION PARTNERS                                                                            E-mell: NIA

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                                                                                                                                       PhM&: 207-504·6900
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                                                                                                                                       Toll-lrea: aTT-340-2649
                           COASTAL ENTERPRISES, INCORPORATED                                                                                                                                                                                             Suite 100
                                                                                                                                       E-mel: j88Qn.tromaa@celmalne.org
                                                                                                                                                                                                                                                         BRUNSWICK, Maine 04011-1510
                                                                                                                                       Web6ite: www.celmalne.org


                                                                                                                                       Phone: 207-e61,-6546
                                                                                                                                       Fa~: 207-866-6553                                                                                                 20 Godfrey. Drive
                           FOUR DIRECTIONS DEVELOPMENT CORPORATION
                                                                                                                                       E-mett: onlckerson@fourolrectlon,melno org                                                                        ORONO, Maine 04473-3810
                                                                                                                                       Webs~e: www.fourdlrectionsmalne.oru


                                                                                                                                       Phone: 207-553-7760-3347
                                                                                                                                       Toi-free: 800-339·8516
                                                                                                                                                                                                                                                         307 Curnberiand Avenue
                           AVESTA HOUSING DEVELOPMENT CORPORATION                                                                      Fax: 207-653-7778
                                                                                                                                                                                                                                                         PORTLAND, Melna 04101-4920
                                                                                                                                       E-mail: nalgeronlmo@aveelahouslng.org
                                                                                                                                       Websile: www.avestahou•ing.ortJ

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                           MONEY MANAGEMENT INTERNATIONAL· SOUTH
                                                                                                                                       Fax: 666-921-6129                                                                                                 5th Floor
                           PORTLAND
                                                                                                                                       E-meU: couooeUnglnlo@moneymenagemenl.org                                                                          PORTLAND, Maine 04101-3427
                                                                                                                                       Webolts: www.moneymsnagement.org
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                                                                                                                                       Phone: 207-774-8211
                                                                                                                                                                                                                                                         88 Federal St
                                                                                                                                       Fax: 207-828-2300
                           PINE TREE LEGAL ASSISTANCE, INCORPORATED                                                                                                                                                                                      PO Bo~ 547
                                                                                                                                       E-mail: nhea!d@pUa.org
                                                                                                                                                                                                                                                         PORTLAND, Maine 04101-4205
                                                                                                                                       Webelle: www.plla.org


                                                                                                                                       Phone: 207-797-7890
                           PROPERITY ME FKA COMMUNITY FINANCIAL                                                                                                                                                                                          309 Cumberland Ave Ste 202
                                                                                                                                       E-mail: crwaganje@prosperityme.org
                           LITERACY                                                                                                                                                                                                                      Portland, Maine 04101-4982
                                                                                                                                       Wob,l!o: cnme.orgl

                                                                                                                                       Phone: 207-784-3721
                                                                                                                                                                                                                                                         771.MalnSI
                           AROOSTOOK COUNTY ACTION PROGRAM, INC.                                                                       E-mei: NIA                                                                                                        Pr,ieque IB!e, Metno 04769-2201
                                                                                                                                       Website: www.acap-me.oro
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                                                                                                                                       P~one: 207-459-2903
                                                                                                                                       Fax: 207-490-5026                                                                                                 6 Spruce Streat
                           YORK COUNTY COMMUNITY ACTION AGENCY
                                                                                                                                       E-mail: Meaghen.Ar.beruor@yccac.org                                                                               SANFORD, Meine 04073-2917

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                                                                                                                                       Phone: 207•333•6419
                           COMMUNITY CONCEPTS, INC.ALSO OBA                                                                            Fa,: 207-795-4069                                                                                                  17 Mar1<et Square
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L.lnc                     Tracking Number             N~me. Street & P.O. Address                                                       Postage        Fee
                          2338133773                  DAVID GRIMALDI                                                                         $0.880   S0.40
                                                      BO MIDDLE RD
                                                      FALMOUTH, ME 04106-1820
                          2339133774                  DAVID GRIMALDI                                                                         $0,680   $0.40
2       -                                             BOMIOOLE RD
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                          2339133775                  SUSAN GRIMALDI                                                                         S0.680   $0,40
3       -                                             BO MIDDLE RD
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                          2339133776                  SUSAN GRIMAl.01                                                                        $0,680   S0.40
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                          2339133777                  DONNA A DUPUIS                                                                         $0.680   S0.40
5       -                                             201WESTST
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                          2339133778                  DONNA A DUPUIS                                                                         S0.880   S0.40
6       -                                             201 WEST ST
                                                      BIDDEFORD, ME 04006-9005
                          2339133779                  CHRISTOPHER W PEACOCK                                                                  $0.880   $0.40
7       -                                             17 HARRIET WAY
                                                      BRUNSWICK, ME 04011-3112
8                         2339133780                  CHRISTOPHER W PEACOCK                                                                  $0.680   $0.40
                                                      17 HARRIET WAY
                                                      BRUNSWICK, ME 04011-3112
                          2339133781                  DUANE C WATERMAN                                                                       S0.680   S0.40
9       -                                             1635 FEDERAL RD
                                                      LIVERMORE, ME 04253-4240
                          2339133782                  DUANE C WA.TERMAN                                                                      S0.880   S0.40
10      -                                             1635 FEDERAL RO
                                                      LIVERMORE, ME 04253-4240
                          2339133783                  DARLEEN R. WATERMAN                                                                    $0.680   $0.40
11      -                                             1635 FEDERAL RD
                                                      LIVERMORE, ME 04253-4240
                          233111337&4                 DARLEEN R. WATERMAN                                                                    S0.880   $0.40
12      -                                             1636 FEDERAL RD
                                                      LIVERMORE, ME 04253-4240
                          233913378CI                 TIMOTHY P OCONNOR                                                                      $0,880   $0.40
13      -                                             70 SAM ALLEN RD
                                                      SANFORD, ME 04073-4470
                          2339133788                  TIMOTHY P OCONNOR                                                                      S0.680   S0.40
14      -                                             70 SAM AU.!N RD
                                                      SANFORD, MS 04073-4470
                          23311133787                 LAURYN ELIZABETH O'CONNOR                                                              $0.680   S0.40
15      -                                             70 SAM ALLEN RO
                                                      SANFORD, ME 04073-<M70
                          23311133788                 LAURYN ELIZABETH O'CONNOR                                                              S0.680   S0.40
18      -                                             70 SAM ALLEN RD
                                                      SANFORD, ME 04073-4470
                          2339133789                  MICHAEL POTTER                                                                         $0,680   S0.40
17      -                                             7 CARLISLE AVE
                                                      AUGUSTA. ME 04330-4807
                          23311133790                 MICHAEL POTIER                                                                         $0,680   $0.40
18      -                                             550 WHITEFIELD RD
                                                      PITTSTON, ME 04345-8614
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                          23391337111                 BARBARA J. POTIER                                                                      S0,680   $0.•0
                                                      7 CARLISLE AVE
                                                      AUGUSTA. ME 04330-4807
                          23391337112                 BARBARA J, POTTER                                                                      $0.680   S0.40
20      -                                             550 WHITEFIELD RO
                                                      PITTSTON, ME 04345-6614
                                                                                                            Total•                           $13.60   SB.00
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